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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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DEMOCRATIC NATIONAL COMMITTEE,

               Plaintiff,                          Civil Action No. 1:18-cv-03501 (JGK)

       v.

THE RUSSIAN FEDERATION et al.,

            Defendants.
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             PLAINTIFF’S NOTICE OF INTENT TO AMEND COMPLAINT

       Pursuant to this Court’s October 1, 2018 Scheduling Order (ECF No. 181), Plaintiff

hereby notifies the Court and Defendants that Plaintiff intends to file a Second Amended

Complaint. Pursuant to the Court’s Order, Plaintiff will file the Second Amended Complaint by

January 17, 2019.



Dated: January 7, 2019                              Respectfully submitted,


                                                    /s/ Joseph M. Sellers
Michael Eisenkraft (#6974)                          Joseph M. Sellers (admitted Pro Hac Vice)
Cohen Milstein Sellers & Toll PLLC                  Geoffrey A. Graber (admitted Pro Hac Vice)
88 Pine St. ● 14th Floor                            Julia A. Horwitz (admitted Pro Hac Vice)
New York, NY 10005                                  Alison S. Deich (admitted Pro Hac Vice)
(212) 838-7797                                      Eric S. Berelovich (#7243)
                                                    Cohen Milstein Sellers & Toll PLLC
                                                    1100 New York Ave. NW ● Fifth Floor
                                                    Washington, DC 20005
                                                    (202) 408-4600



                                     Attorneys for Plaintiff

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